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     Federal Defender
2    CARO MARKS, Bar #159267
     Senior Litigator
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    RYAN SCOTT KERN
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,       )     No. Mag. No. 07-49 EFB
10                                   )
                    Plaintiff,       )     STIPULATION AND PROPOSED ORDER TO
11                                   )     CONTINUE PRELIMINARY HEARING
          v.                         )
12                                   )
     RYAN SCOTT KERN, et al          )     Date:  August 21, 2008
13                                   )     Time:  2:00 p.m.
                    Defendants.      )     Judge: Dale A. Drozd
14                                   )
     _______________________________ )
15
          Ryan Scott Kern, by and through his counsel, Caro Marks, Assistant
16
     Federal Defender, Rahman Shadebadi, by and through his counsel, Peter
17
     Kmeto, and the United States Government, by and through its counsel,
18
     William Wong, Assistant United States Attorney, hereby stipulate and
19
     agree to vacate the previously scheduled preliminary hearing date of
20
     July 23, 2008 and set a preliminary hearing date of August 21, 2008 at
21
     2:00 p.m.
22
          A continuance is necessary as Mr. Kern continues his involvement as
23
     a government witness in a state court homicide trial, which necessitates
24
     a continuance of the formal charge on the pending federal case. The case
25
     is scheduled for trial in August/September 2008. Since any resolution of
26
     the pending federal case has so far been discussed as a “package deal”,
27
     codefendant Shadebedi’s case should also be continued.        In addition to
28
              Case 2:07-mj-00049-KJM Document 61 Filed 07/22/08 Page 2 of 2


1    Mr. Kern’s involvement in a pending state court homicide trial, both
2    defendants and the U.S. government are involved in ongoing negotiations.
3             IS STIPULATED that the period from the signing of this Order,
4    through and including August 21, 2008 be excluded in computing the time
5    within which trial must commence under the Speedy Trial Act, pursuant to
6    18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing preparation
7    of counsel.      It is further stipulated that the defendant’s agrees to
8    extend the time for their preliminary hearing pursuant to Federal Rule
9    of Criminal Procedure 5.1 (d).        The government fully concurs with this
10   request.
11   Dated:     July 22, 2008
12                                             Respectfully submitted,
13                                             DANIEL BRODERICK
                                               Federal Defender
14
                                               /s/ Caro Marks
15                                            ________________________
                                               CARO MARKS
16                                             Assistant Federal Defender
                                               Attorney for Defendant
17                                             RYAN SCOTT KERN
18                                               /s/ Peter Kmeto
                                               PETER KMETO
19                                             Attorney at Law
                                               Attorney for Defendant
20                                             RAHMAN SHADEBADI
21                                             MCGREGOR SCOTT
                                               United States Attorney
22
                                              /s/ William Wong
23
                                               WILLIAM WONG
24                                             Assistant U.S. Attorney
25
                                            ORDER
26
     SO ORDERED.
27
     Dated:     July 22, 2008.
28
                                               U.S. Magistrate Judge

     Stipulation and Proposed Order           -2-
